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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS



JEAN CARLOS SANCHEZ,

                      Plaintiff,
                                                        No.: 1:18-cv-03153
v.

IDT TELECOM, INC. d/b/a BOSS                            Honorable Gary Feinerman
REVOLUTION

                      Defendant.


            IDT TELECOM, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
                          TO PLAINTIFF’S COMPLAINT

       Defendant IDT Telecom, Inc. d/b/a Boss Revolution, by and through counsel, submits

this Answer and Affirmative Defenses to Plaintiff Jean Carlos Sanchez’s (“Plaintiff”) putative

Class Action Complaint (the “Complaint”), and states as follows:

                                   NATURE OF THE ACTION1

       1.     IDT is the company behind the popular, international telecommunications service

Boss Revolution.

ANSWER: With respect to the allegations in Paragraph 1 of the Complaint (“paragraph 1”),

IDT admits only that IDT is a company, which provides, among other services, the Boss

Revolution Pinless service that allows for international telecommunications. IDT denies the

remaining allegations in paragraph 1.

       2.     Consumers use Boss Revolution’s mobile phone application (“app”) and pre-paid,

rechargeable phone cards to make international calls.


1
        To the extent the introductory paragraph of the Complaint that precedes the heading
“Nature of the Action” asserts allegations toward IDT, IDT admits only that Plaintiff purports to
bring a class action complaint and demand for jury trial against IDT. IDT denies that it violated
the Telephone Consumer Protection Act (“TCPA”) or any other law.
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ANSWER: With respect to paragraph 2, IDT admits only that consumers may use the Boss

Revolution Mobile App and to make calls with the Boss Revolution Pinless service to certain

international countries, among other services.         IDT denies all remaining allegations in

paragraph 2.

       3.      Many low-income consumers cannot afford service plans with phone carriers that

provide international call coverage. These consumers rely on companies like IDT for products

and services that often provide them with the only feasible means of communicating with family

members abroad.

ANSWER: IDT is without sufficient knowledge and/or information to form a belief as to the

truth of the allegations in paragraph 3 and, therefore, denies the allegations.

       4.      At the expense of consumers’ time, money, and privacy, Defendant sends short

message service (“SMS” or “text message”) calls to consumers’ cellular telephones. These

messages unambiguously encourage the purchase of Defendant’s products and services.

ANSWER: With respect to paragraph 4, IDT admits only that it has placed calls and sent text

messages to cellular telephone numbers for which it has received consent to call and/or send text

messages, and which may include calls or text messages relating to the marketing of IDT’s

products and services. IDT denies the remaining allegations in paragraph 4.

       5.      Defendant does not obtain prior express written consent from consumers to make

such text message calls and therefore violates the Telephone Consumer Protection Act, 47

U.S.C. § 227 (“TCPA”).

ANSWER: IDT denies the allegations in paragraph 5.

       6.      As a result, Plaintiff, on behalf of himself and the putative Class, seeks an

injunction requiring Defendant to cease all unlawful text messaging activities alleged in this




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Complaint, and an award of statutory damages to Plaintiff and the Class for each such violation,

together with costs and reasonable attorneys’ fees.

ANSWER: With respect to paragraph 6, IDT admits only that Plaintiff purports to seek relief on

behalf of a putative class. IDT denies that this matter may be properly maintained as a class

action under Rule 23 and denies the remaining allegations in paragraph 6.

                                             PARTIES

       7.      Plaintiff is an Illinois consumer.

ANSWER: IDT is without sufficient knowledge and/or information to form a belief as to the

truth of the allegations in paragraph 7 and, therefore, denies the allegations.

       8.      Defendant IDT is a New Jersey-based for-profit corporation. Defendant conducts

business in Illinois and throughout the United States.

ANSWER: IDT admits the allegations in paragraph 8.

                                 JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 for Plaintiff’s claims arising under the federal Telephone Consumer Protection Act

(TCPA), 47 U.S.C. § 227, et seq.

ANSWER:        With respect to paragraph 9, IDT admits only that this Court generally has

jurisdiction over claims pursuant to 28 U.S.C §§ 1331 for claims arising under the TCPA. IDT

denies that Plaintiff has properly alleged any such claim herein.

       10.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 (b)-(c) and 1441(a)

because a substantial part of the events giving rise to the claim occurred in this District.




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ANSWER: IDT admits that venue is proper in this District pursuant to 28 U.S.C. §§ 1391 (b)-

(c) and 1441(a). 2

                                  FACTUAL ALLEGATIONS

       11.     In April of 2018, Plaintiff received a text message at his cellular phone number,

ending in -9065. The message read as follows:

       BRClub: Promo Exclusiva para
       Usuarios del App! Hoy 4/22 si
       hablas del app recibiras 20% EXTRA en re-
       cargas $5 a $100. Terminos aplican
       800-676-8312. Stop=Cancelar

ANSWER: IDT is without sufficient knowledge and/or information to form a belief as to the

truth of the allegations in paragraph 11 and, therefore, denies the allegations.

       12.     Translated in English, this message reads:

       BRClub: Exclusive Promo for
       Users of the App! Today 4/22 if you speak
       of the app you will receive 20% EXTRA in re-
       charges $5 to $100. Terms apply
       800-676-8312. Stop=Cancel

ANSWER: IDT admits the allegations in paragraph 12.

       13.     Defendant sent the above text message to Plaintiff from SMS code “55350.”

ANSWER: IDT admits the allegations in paragraph 13.

       14.     Plaintiff never purchased products or services from Defendant.

ANSWER: IDT denies the allegations in paragraph 14.

       15.     Plaintiff never downloaded Defendant’s mobile application on his cellular phone.



2
        Some or all of Plaintiff’s purported causes of action may not be allowed to proceed as a
class action or may be subject to arbitration in accordance with the terms and conditions of the
account at issue in this matter. In filing this Answer, IDT does not waive and specifically
reserves the right to move to an individual claim in arbitration based on the contract(s) and
service terms and conditions Plaintiff entered into and agreed to with IDT.


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ANSWER: IDT denies the allegations in paragraph 15.

        16.     Plaintiff has received other similar text messages from Defendant.

ANSWER:         With respect to paragraph 16, IDT is without sufficient knowledge and/or

information to form a belief as to the truth of what text messages Plaintiff is referring to or what

text messages Plaintiff has received and, therefore, denies the allegations in paragraph 16.

        17.     The above-described text messages were not addressed to Plaintiff by name and

were written in an impersonal manner.

ANSWER: IDT is without sufficient knowledge and/or information to form a belief as to the

truth of the allegations in paragraph 17 and, therefore, denies the allegations.

        18.     Defendant sent the same (or substantially the same) generic telemarketing and/or

advertising text messages at random through an automated system to Plaintiff and Class.

ANSWER: IDT denies the allegations in paragraph 18 and denies that this matter may be

properly maintained as a class action under Rule 23 of the Federal Rules of Civil Procedure.

        19.     Prior to sending these text messages, Defendant never informed Plaintiff and

Class clearly, conspicuously, and in writing that they would receive recurring automated

telemarketing and/or advertising text messages on their cellular phone.

ANSWER: IDT denies the allegations in paragraph 19 and denies that this matter may be

properly maintained as a class action under Rule 23.

        20.     As such, Defendant never received the requisite consent to send the text messages

at issue.

ANSWER: IDT denies the allegations in paragraph 20.

        21.     The text message calls alleged herein were exclusively made by Defendant or on

their behalf.




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ANSWER: The allegations in paragraph 21 are too vague and ambiguous to require a response.

To the extent a response is required, IDT is without sufficient knowledge and/or information to

form a belief as to the truth of the allegations in paragraph 21 and, therefore, denies the

allegations.

       22.     Through their conduct, Defendant caused Class Members actual harm by sending

the unauthorized text message calls at issue. Plaintiff and members of the Class were not only

subjected to the aggravation that necessarily accompanies the receipt of unauthorized text

messages, but also costs paid to their cell phone service providers for the receipt of such

unauthorized text messages.

ANSWER: IDT denies the allegations in paragraph 22 and denies that this matter may be

properly maintained as a class action under Rule 23.

       23.     Moreover, Plaintiff and members of the Class suffered injuries in the form of

invasion of privacy and violations of their statutory rights, the monies paid to receive

Defendant’s unsolicited text messages, the diminished value and utility of their telephone

equipment and telephone subscription service (i.e. the value of such equipment and services is

higher when unencumbered by repeated and harassing text messages), the amount of time lost

answering and fielding unwanted telemarketing text messages, the wear and tear on their

telephone equipment, the loss of battery (which becomes diminished with each incoming phone

call), the loss of battery life (which has a finite number of charging cycles), and electricity costs

required to recharge their cellular phones.

ANSWER: IDT denies the allegations in paragraph 23 and denies that this matter may be

properly maintained as a class action under Rule 23.




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       24.     Defendant was and is aware that the above-described text messages were being

sent on a widespread basis, and that the text messages were being sent to consumers who had not

provided prior express written consent to receive them.

ANSWER: IDT denies the allegations in paragraph 24, and further denies that this matter may

be properly maintained as a class action under Rule 23.

                              CLASS ACTION ALLEGATIONS

       25.     Class Definition: Plaintiff Jean Carlos Sanchez brings this action on behalf of

himself and a class defined as follows:

               Class: All individuals in the United States whose wireless
               telephone number Defendant, or someone on Defendant’s behalf,
               called using an automatic telephone dialing system or an artificial
               or prerecorded voice in connection with Defendant’s marketing
               promotions.

       Excluded from the Class are: (1) any Judge or Magistrate presiding over this action and

members of their families; (2) Defendant, Defendant’s subsidiaries, parents, successors,

predecessors, and any entity in which the Defendant or their parents have a controlling interest

and their current or former employees, officers and directors; (3) persons who properly execute

and file a timely request for exclusion from the Class; (4) persons whose claims in this matter

have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and

Defendant’s counsel; and (6) the legal representatives, successors, and assigns of any such

excluded persons.

ANSWER: With respect to the allegations in paragraph 25, IDT admits that Plaintiff purports to

seek certification of a class under Rule 23 of the Federal Rules of Civil Procedure, but IDT

denies that this matter may be properly maintained as a class action under Rule 23. IDT denies

the remaining allegations set forth in paragraph 25.




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       26.     Numerosity: The exact number of Class members is unknown and not available

to Plaintiff at this time, but it is clear that individual joinder is impracticable. Upon information

and belief, Defendant sent telemarketing and/or advertising text messages to thousands of

consumers who fall into the definition of the Class. Class members can be identified through

Defendant’s records.

ANSWER: With respect to the allegations in paragraph 26, IDT admits that a class as defined in

paragraph 25 would include thousands of individuals, but IDT denies that any such class exists

herein. IDT further admits that Plaintiff purports to seek certification of a class under Rule 23 of

the Federal Rules of Civil Procedure, but IDT denies that this matter may be properly maintained

as a class action under Rule 23. IDT denies the remaining allegations in paragraph 26.

       27.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the putative Class, and those questions predominate over

any questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

               (a)     Whether Defendant’s conduct violated the TCPA;

               (b)     Whether Defendant sent text messages to Class Members using an

                       automated telephone dialing system (“ATDS”), as contemplated by the

                       TCPA;

               (c)     Whether Defendant systematically sent telemarketing and/or advertising

                       text message calls to Class Members who did not previously provide it

                       with prior express written consent to receive such text message calls; and

               (d)     Whether Plaintiff and Class Members are entitled to treble damages based

                       on the willfulness of Defendant’s conduct.




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ANSWER: IDT denies the allegations in paragraph 27 and each of its subparts.

       28.       Typicality: Plaintiff’s claims are typical of the claims of other members of the

Class in that Plaintiff and the Class members sustained damages arising out of Defendant’s

uniform wrongful conduct and unsolicited text message calls.

ANSWER: IDT denies the allegations in paragraph 28 and denies that this matter may be

properly maintained as a class action under Rule 23.

       29.       Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class, and has retained counsel competent and experienced in

complex litigation and class actions. Plaintiff’s claims are representative of the claims of the

other members of the Class. That is, Plaintiff and the Class members sustained damages as a

result of Defendant’s conduct and received substantially the same text messages. Plaintiff also

has no interests antagonistic to those of the Class, and Defendant have no defenses unique to

Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting this action on behalf

of the members of the Class, and have the financial resources to do so. Neither Plaintiff nor his

counsel have any interest adverse to the Class.

ANSWER:          With respect to paragraph 29, IDT is without sufficient knowledge and/or

information to form a belief as to the truth of the allegations and, therefore, IDT denies the

allegations. IDT further denies that this matter may be properly maintained as a class action

under Rule 23.

       30.       Appropriateness: This class action is also appropriate for certification because

Defendant have acted or refused to act on grounds generally applicable to the Class as a whole,

thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of

conduct toward the members of the Class and making final class-wide injunctive relief

appropriate. Defendant’s practices apply to and affect the members of the Class uniformly, and


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Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect to the Class

as a whole, not on facts or law applicable only to Plaintiff. Additionally, the damages suffered

by individual members of the Class will likely be small relative to the burden and expense of

individual prosecution of the complex litigation necessitated by Defendant’s actions. Thus, it

would be virtually impossible for the members of the Class to obtain effective relief from

Defendant’s misconduct on an individual basis. A class action provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court. Economies

of time, effort, and expense will be fostered and uniformity of decisions will be ensured.

ANSWER: IDT denies that this matter may be properly maintained as a class action under Rule

23 and denies the remaining allegations in paragraph 30. IDT further denies that it caused

Plaintiff, or any purported class member, to suffer damages.

       31.      Plaintiff reserves the right to revise the foregoing “Class Allegations” and “Class

Definition” based on facts learned through additional investigation and in discovery.

ANSWER: IDT denies the allegations in paragraph 31 and denies that this matter may be

properly maintained as a class action under Rule 23.

                                    CAUSE OF ACTION
        (Violation of 47 U.S.C. § 227, et seq. – Telephone Consumer Protection Act)
                            (on behalf of Plaintiff and the Class)

       32.      Plaintiff incorporates the foregoing allegations as if fully set forth herein.

ANSWER: IDT reasserts and incorporates by reference its responses to all of the foregoing

paragraphs of this Complaint as though such were fully restated herein as and for its answer to

paragraph 32.

       33.      In an effort to solicit consumers, Defendant sent unauthorized and unwanted

telemarketing and/or advertising text message calls to Plaintiff and the Class’s cellular

telephones without their prior express written consent.


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ANSWER: IDT denies the allegations in paragraph 33 and denies that this matter may be

properly maintained as a class action under Rule 23.

       34.      Defendant sent the telemarketing and/or advertising text messages to Plaintiff and

the Class’s cellular telephone numbers using equipment that had the capacity to store or produce

telephone numbers to be called using a random or sequential number generator, and/or receive

and store lists of phone numbers, and to dial such numbers en masse.

ANSWER: IDT denies the allegations in paragraph 34. IDT further denies that this matter may

be properly maintained as a class action under Rule 23.

       35.      Defendant utilized equipment that sent the telemarketing and/or advertising text

messages to Plaintiff and other members of the putative Class simultaneously and without human

intervention.

ANSWER: IDT denies the allegations in paragraph 35 and denies that this matter may be

properly maintained as a class action under Rule 23.

       36.      Defendant took steps to physically place such text message calls and/or was so

involved in placing the calls as to be deemed to have initiated them.

ANSWER: The allegations in paragraph 36 are too vague to require a response. To the extent a

response is required, IDT denies the allegations in paragraph 36.

       37.      By sending telemarketing and/or advertising text messages to Plaintiffs and

members of the Class’s cellular telephones without prior express written consent, as defined

pursuant 47 U.S.C. § 64.1200(f)(8), and by utilizing an ATDS, Defendant violated 47 U.S.C.

§ 227(b)(I)(A)(iii).

ANSWER: IDT denies the allegations in paragraph 37 and denies that this matter may be

properly maintained as a class action under Rule 23.




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       38.     As a result of Defendant’s unlawful conduct, Plaintiff and the members of the

putative Class suffered actual damages and have also had their rights to privacy adversely

impacted. Plaintiff and the Class are therefore entitled to, among other things, a minimum of

$500 in statutory damages for each such violation under 47 U.S.C. § 227(b)(3)(B).

ANSWER: IDT denies the allegations in paragraph 38 and denies that this matter may be

properly maintained as a class action under Rule 23.

       39.     Because Defendant’s misconduct was willful and knowing, the Court should,

pursuant to 47 U.S.C. § 227(b)(3), treble the amount of statutory damages recoverable by the

Plaintiff and the other members of the putative Class.

ANSWER: IDT denies the allegations in paragraph 39 and denies that this matter may be

properly maintained as a class action under Rule 23.

       40.     Additionally, as a result of Defendant [sic] unlawful conduct, Plaintiff and the

other members of the Class are entitled to an injunction under 47 U.S.C. § 227(b)(3)(A) to

ensure that Defendant’s violations of the TCPA do not continue into the future.

ANSWER: IDT denies the allegations in paragraph 40. IDT further denies that Plaintiff is

entitled to any of the relief requested in the Wherefore clause and each of its subparts that

follows paragraph 40. IDT admits that Plaintiff purports to request a trial by jury under the “Jury

Demand” heading that follows paragraph 40.

                                     GENERAL DENIAL

       IDT Telecom, Inc. hereby denies any allegations in the Complaint that are not expressly

admitted in the preceding paragraphs.

                   IDT TELECOM, INC.’S AFFIRMATIVE DEFENSES

       1.      Plaintiff’s Complaint fails to state a claim upon which relief may be granted.




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       2.        Plaintiff’s claims are barred, in whole or in part, because Plaintiff has suffered no

actual injury and therefore has no standing to bring a statutory claim pursuant to Spokeo, Inc. v.

Robins, 136 S. Ct. 1540 (2016).

       3.        Plaintiff’s claims are barred, in whole or in part, because Plaintiff consented to

receive telephone calls and text messages from IDT on the phone number at issue.3

       4.        Plaintiff’s purported causes of action are not allowed to proceed within the United

States District Court system or as a class action as IDT possesses the contractual right to move

this action to an individual claim in arbitration based on the contract(s) and service terms and

conditions Plaintiff entered into and agreed to with IDT.

       5.        The Court may not exercise personal jurisdiction over IDT with respect to the

claims of non-Illinois-resident class members. See Bristol-Myers Squibb Co. v. Superior Court

of California, SanFrancisco Cty., 137 S. Ct. 1773 (2017). Because the non-residents’ claims do

not relate to IDT’s contacts with Illinois, the Court’s exercise of specific personal jurisdiction

over IDT with respect to those claims would violate Defendant’s due process rights.

       6.        Plaintiff’s and the purported class members’ claims are barred, in whole or in

part, by estoppel, waiver, and/or laches.

       7.        Plaintiff’s and the purported class members’ claims are barred by the doctrine of

unclean hands.

       8.        Some or all of Plaintiff’s and the purported class members’ claims may be barred

by the applicable statute of limitations.




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        See Reyes v. Lincoln Auto. Fin. Servs., 861 F.3d 51, 56 (2d Cir. 2017) (“[T]he TCPA
does not permit a party who agrees to be contacted as part of a bargained-for exchange to
unilaterally revoke that consent.”).


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          9.    Each and every act by IDT complained of in this Complaint was justified, proper,

legal, fair, and not done in degradation of Plaintiff’s or the purported class’s rights or legal

interests.

          10.   IDT at all times acted in good faith and in accordance with reasonable

commercial standards, thus precluding or limiting any recovery by Plaintiff against IDT.

          11.   Interpretations of the TCPA upon which the Complaint is based are

unconstitutionally vague and overbroad and thus violate the due process clause of the Fifth

Amendment to the United States Constitution, and the due process provision of the Fourteenth

Amendment to the United States Constitution.

          12.   To the extent that any relief sought by Plaintiff would be duplicative of relief

sought by other plaintiffs in other lawsuits, subjecting IDT to the possibility of multiple

recoveries, such recovery is barred by the Fifth and Eighth Amendments to the United States

Constitution.

          13.   In the event that a settlement is reached between the Plaintiff or any purported

class member and any other person or entity, IDT is entitled to any settlement credits permitted

by law.

          14.   Any loss, injury, damage, or detriment Plaintiff or the purported class may have

suffered was directly and proximately caused and contributed to by Plaintiff’s or the purported

class’s own breach, conduct, acts, omissions, activities, carelessness, recklessness, negligence,

and/or intentional misconduct and not by IDT.

          15.   Any loss, injury, damage, or detriment Plaintiff or the purported class may have

suffered was directly and proximately caused and contributed to by the conduct, acts, omissions,




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activities, carelessness, recklessness, negligence, and/or intentional misconduct of others and not

by IDT.

       16.     Plaintiff has failed, refused, and /or neglected to take reasonable steps to mitigate

Plaintiff’s alleged damages, if any, thus barring or diminishing any recovery by Plaintiff.

       17.     IDT reserves the right to assert additional defenses in the event discovery

indicates that they may be appropriate.

       WHEREFORE IDT Telecom, Inc. respectfully requests that this Court enter an order: (1)

denying the relief requested by Plaintiff’s Complaint; (2) dismissing the action in its entirety

with prejudice; (3) awarding IDT costs of suit and expenses incurred herein; and (4) granting

IDT such further relief as is just and proper.


Dated: June 20, 2018                             Respectfully submitted,

                                                 IDT Telecom, Inc. d/b/a Boss Revolution

                                                 By: /s/ Karen E. Vaysman
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                                                     Counsel for Defendant
                                                     IDT Telecom, Inc. d/b/a Boss Revolution




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                                CERTIFICATE OF SERVICE

       I, Karen E. Vaysman, an attorney, hereby certify that on June 20, 2018, the foregoing

IDT Telecom, Inc.’s Answer and Affirmative Defenses to Plaintiff’s Complaint was

electronically filed using the CM/ECF system which will send notification of such filing to all

parties of record in the above-captioned matter.


                                                   /s/ Karen E. Vaysman
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